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                             UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                                    ALEXANDRIA DIVISION

UNITED STATES OF AMERICA                                       CRIMINAL NO. 06-10017

VERSUS                                                         JUDGE DRELL

MELVIN WILLIAMS                                                MAGISTRATE JUDGE KIRK


MELVIN WILLIAMS’ SECOND REQUEST FOR DISCOVERY AND SPECIFIC BRADY
                           MATERIAL

       NOW INTO COURT, through undersigned counsel, comes MELVIN WILLIAMS, the

defendant in this matter, (hereinafter referred to as "Mover"), who respectfully requests that for the

reasons of fact and law set forth herein, the government provide him with specific Brady material.

                                                  1.

       Mover is charged in a one count indictment with “knowingly, and by means and use of a

dangerous weapon, that is a sharp object, did forcibly assault, resist, oppose, impede, intimidate, and

interfere with T.B., a corrections officer,” at USP Pollock, in violation of 18 U.S.C. section 111.

                                                  2.

       Trial of this matter is currently set for October 30, 2006.

                                                  3.

       The government has provided three (3) video files originating from USP Pollock. Two files

depict footage of the alleged assault from different angles in an indoor corridor. The third file

(labeled “FBOP Pol~(3-229 C Ya~)_060308101928_060308102250_0003_0001.avi”) depicts the

Mover’s surrender to USP Pollock officials outdoors, and his being escorted into a building after his

surrender.
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                                                   4.

       In    the     outdoor      video     file    noted     above      (FBOP       Pol~(3-229       C

Ya~)_060308101928_060308102250_0003_0001.avi), it can clearly be seen that a white female

USP Pollock staff member with brown hair, dark clothes and dark shoes, is filming Mover’s entire

“standoff” and eventual surrender with a common handheld video camera of the type that commonly

also has audio recording capability.

                                                   5.

       As of this date, the government has not provided to the defense the audio/video footage from

the handheld video camera described in the above paragraph.

                                                   6.

       Mover’s position is that he is entitled to the above described audio/video from the handheld

video camera pursuant to the Criminal Pretrial Discovery Order, either under section I(a)(1)(A), as

it may constitute a relevant recorded statement of the defendant, or under section I(a)(1)(H), as it

constitutes photographs material to the preparation of the defense.

                                                   7.

       Alternatively, the audio/video footage contains specific audio/video evidence material to

Mover’s defense and/or punishment, and therefore must be turned over to the defense pursuant to

Brady v. Maryland. At the very least, Mover believes that the audio/video tape contains his own

explanations of the alleged assault at the time it occurred. It will corroborrate Mover’s assertion that

he was frustrated that Lt. Lemoine did not take steps to prevent a continuation of inappropriate

and/or illegal sexual contact on the part of the alleged victim, despite Mover having reported such

behavior to Lemoine and receiving Lemoine’s assurances that the complained of conduct by the
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victim would cease. Even if such evidence is found to be not necessarily favorable to Defendant’s

substantive defense, it is obviously material to the issue of punishment.

                                                  8.

       In Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed. 215 (1963), the United States

Supreme Court held that the due process clause of the Fifth Amendment of the United States

Constitution required that the prosecution turn over to the defendant evidence that was favorable to

the defendant or material to the issue of guilt or punishment.

                                                  9.

       In connection with the government’s obligations pursuant to Brady, the prosecution is

considered to have knowledge of any information that is readily available to it, and the failure to

provide that information, when requested, violates Brady. Williams v. Whitley, 940 F.2d 132, 133

(5th Cir. 1991); U. S. v. Auten, 632 F.2d 478 (5th Cir. 1980).

       WHEREFORE, for the reasons of fact and law set forth herein, the United States should

produce to the defense the aforementioned audio/video tape.

                                       RESPECTFULLY SUBMITTED,

                                       REBECCA L. HUDSMITH
                                       FEDERAL PUBLIC DEFENDER FOR THE
                                       MIDDLE & WESTERN DISTRICTS OF LOUISIANA



                                       By: ___s/ Robert M. Marin______________________
                                             ROBERT M. MARIN (LA 25157)
                                             Assistant Federal Public Defender
                                             102 Versailles Blvd., Suite 816
                                             Lafayette, Louisiana 70501
                                             (337)262-6336 (Phone) (337)262-6605 (Fax)
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                                  CERTIFICATE OF SERVICE

          I hereby certify that a copy of the above MELVIN WILLIAMS’ SECOND REQUEST FOR

DISCOVERY AND SPECIFIC BRADY MATERIAL has been served on Mr. Earl M. Campell,

Assistant United States Attorney, 300 Fannin Street, Shreveport, Louisiana 71101, via electronic

filing.

          Lafayette, Louisiana, this 19th day of September, 2006.



                                        __________s/ Robert M. Marin____________
                                                  ROBERT M. MARIN
